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                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA, )
                          )
    Plaintiff,            )
                          )
vs.                       )                          Civil Action No. 5:18-cv-1055-CLS
                          )
RANDY HAMES and HAMES     )
MARINA d/b/a HAMES MARINA )
AND MOBILE HOME PARK,     )
                          )
    Defendants.           )

                                          ORDER

       This case is before the court on defendants’ objections to the government’s

witness and exhibit lists,1 and the government’s objections to defendants’ witness and

exhibit list.2

                            DEFENDANTS’ OBJECTIONS

A.     Defendants’ Objections to the Government’s Witness List

       1.        Sandra Bomberry (mother of aggrieved persons Tammy Wright and
                 Vicky Wright) and Adrienne Coleman (grandmother of aggrieved
                 persons Karanda Gann and Shaela Gann)



       1
         Doc. nos. 222 and 228 (Defendants’ Objections to the Government’s Witnesses) and 223
(Defendants’ Objections to the Government’s Exhibits). The government’s witness list is doc. no.
208, and its corrected exhibit list is doc. no. 218. The government’s consolidated reply to the
objections is doc. no. 233.
       2
        Doc. no. 227. Defendants’ Witness and Exhibit List is doc. no. 211. Defendants’ reply to
the government’s objections is doc. no. 234.
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      Defendants argue that these witnesses should be excluded because they are not

aggrieved persons, and because the government did not produce any documents that

mentioned them. Those arguments are without merit. The government represents

that the witnesses have knowledge about their relatives’ experiences with Hames.

The government submitted copies of its disclosures to defendants during discovery,

in which each of the witnesses was identified, and, the subject of their information

was described. Accordingly, defendants’ objections are OVERRULED.

      2.     Tomeka Bartlett and Kayla Carreker (and the exhibit that is the audio
             recording made by Carreker (Government exhibit 21)).

      Defendants’ argue that the government is impermissibly presenting these

witneses to show subsequent violations of the Fair Housing Act, and their testimony

will confuse the jury because they are plaintiffs in a separate lawsuit. Those

arguments are without merit. Bartlett and Carreker are relevant witnesses to the

government’s claims. The court will instruct the jury that the government does not

seek damages on their behalf. Defendants’ objection is OVERRULED.

      Defendants also argue that an audio recording made by Kayla Carreker during

an interaction with Hames should be excluded, because there is no reference to

forgiving rent. Carreker testified in deposition that, during the recorded encounter,

Hames whispered in her ear that he would forgive her rent for sex; however, the



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statement is not contained in the recording. They also argue that the recording should

be excluded because Carreker did not tell anyone about the whispered statement until

her deposition. Defendants’ arguments affect the credibility of the witness and the

weight the jury may choose to give the evidence, if any, but not its admissibility. The

objection is OVERRULED.

B.    Defendants’ Objections to the Government’s Exhibit List

      Defendants’ objections are addressed as numbered in the document filed with

the court.

      1.        Government exhibit 2 (Randy Hames’s Request for Admissions
                Responses)

      The government did not address this objection in its reply. Accordingly, the

objection is SUSTAINED.

      2, 4, 5.         Government exhibits 4, 27, and 30 (Police reports relating to
                       Karanda Gann, Brittaney Lands, and Marie Watson)

      This issue was addressed in the court’s memorandum opinion and orders on the

motions in limine entered on January 25, 2024.3 The request to exclude the reports

in their entirety was denied, with the proviso that specific objections to the police

reports will be addressed in the context in which they arise during trial; but the

reference to Hames’s refusal to submit to a polygraph examination contained in the

      3
          Doc. no. 237, at 24-25.

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police report relating to the complaint lodged by Brittaney Lands will be excluded.

       3.       Government exhibit 25 (Randy Hames’s Response to Private Plaintiffs’
                Interrogatories)

       The government did not address this objection in its reply. Accordingly, the

objection is SUSTAINED.

       6, 7. Government exhibits 31 and 32 (Handwritten answers of Tomeka
             Bartlett and Kayla Carreker)

       Defendants argue that these exhibits contain inadmissible hearsay. The

government responds that they are non-hearsay as prior consistent statements under

Federal Rule of Evidence 801(d)(1)(B), and/or they are offered for the fact that they

were made, and not for the truth of the matter asserted. The court reserves ruling on

these objections and will consider them, in context, during the trial.

       8.       Government exhibits 35-38 (Hames’s deposition transcripts)

       The government states that these transcripts will be offered only if Hames does

not testify. Accordingly, the court will rule on defendants’ objections, if necessary,

during trial.

       9.       Government exhibit 40 (Hames’s petition for bar suspension)

       The government did not address this objection in its reply. Accordingly, the

objection is SUSTAINED.

       10.      Government exhibits 41-56 (Financial documents prepared by expert

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                Richard Riley)

      This issue was addressed in the court’s memorandum opinion and orders on the

motions in limine.4 The government represents that these exhibits are summaries of

financial records that it will seek to introduce through their expert witness, Richard

Riley, under Federal Rule of Evidence 1006. The motion to admit the summaries was

granted, provided a proper foundation is laid. The government states that it will use,

at most, ten of these documents.5 Defendants’ objections to exhibits 41-56 are

OVERRULED.

      11.       Government exhibits 60 and 61 (Lis Pendens filed by Cullman County
                District Attorney).

      Defendants argue that these exhibits “pertain to transfers made and challenged

in a separate case brought by Kayla Carreker and Tomeka Bartlett,” and that the

District Attorney “has no legal standing to file a lis pendens.”6 Leaving those

arguments aside, the exhibits refer to state law charges against Hames that ultimately

were amended. Defendants’ objections are SUSTAINED, and these documents will

be excluded.

      12, 13, 14. Government exhibits 62-64 (Guilty Pleas relating to complaints
                  made by Tomeka Bartlett, Kayla Carreker, and Marie Watson).

      4
          Doc. no. 237, at 19-22.
      5
          See doc. no. 233, at 4.
      6
          Doc. no. 223, at 5.

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       The admissibility of these exhibits was addressed in the court’s memorandum

opinion and orders on the parties’ motions in limine.7 Accordingly, defendants’

objection is OVERRULED.

       15.       Government exhibit 65 (Text messages between Mary Hames and Randy
                 Hames relating to Hames’s transfer of property to daughters)

       Defendants argue that this exhibit contains inadmissible hearsay.          The

government contends that the messages are relevant to the court’s decision in the

private plaintiffs’ case that Hames’s property was fraudulently transferred to his

daughters, but does not argue that the messages are not hearsay, or that an exception

applies. The court ruled in the memorandum opinion and orders on the parties’

motions in limine that the subject of Hames’s fraudulent transfer of property is a

permissible area of inquiry.8       Even so, the court will reserve ruling on the

admissibility of this particular exhibit as it arises, in the context of trial.

                        II. THE GOVERNMENT’S OBJECTIONS

A.     Objections to Witnesses

       1.        Lisa McSwain, Cullman County Circuit Clerk

       The government objects to this witness, to the extent that defendants intend to

present her testimony for any purpose other than to authenticate documents as a

       7
           Doc. no. 237, at 1-10.
       8
           Id. at 22.

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custodian of records for the Cullman County, Alabama, Circuit Court.                  The

government notes that defendants did not disclose Ms. McSwain during discovery,

and argues under Federal Rule of Civil Procedure 37(c)(1), that she should not be

permitted to testify at trial for that reason. Defendants do not intend to present Ms.

McSwain as a custodian of records; instead, they say she was present when Bartlett

and Carreker filed petitions for protection from abuse (exhibits to which the

government also has objected). Defendants also contend that they complied with the

court’s pretrial order, which states: “To the extent the parties have not previously

complied with Fed. R. Civ. P. 26(a)(3), the parties shall, at least 21 days prior to trial,

serve and file a list stating the names and addresses of all witnesses (other than expert

witnesses) whose testimony they may offer at trial.” As discussed below, the court

reserves ruling on the government’s objections to the petitions for protection from

abuse filed by Tomeka Bartlett and Kayla Carreker; and, in accordance with that

ruling, will reserve ruling on this objection as well.

       2.        Autumn Hansen

       The government seeks to limit the scope of Ms. Hansen’s testimony. The court

already has ruled in the memorandum opinion and orders on the motions in limine

that she may testify about her experiences as Hames’s tenant.9 The government asks


       9
           Id. at 10-13.

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the court to preclude her from testifying about other events that do not relate to her

experiences as Hames’s tenant. The defendants state that Ms. Hansen has personal

knowledge about “some” of the aggrieved persons, and that she is familiar with the

conditions of the mobile homes. The government failed to state its objections with

sufficient specificity for this court to comprehend where the “rub” lies, or the basis

for it. Accordingly, the court will defer ruling until such time, if any, as the witness

is called to the stand.

      3.        Alisha Coates/Cobb

      The government seeks to exclude Ms. Coates/Cobb’s testimony as not relevant,

and because its probative value is outweighed by the risk of jury confusion and

prejudice. The government cites defendants’ motion for partial summary judgment

as support for this contention.10 In that motion, defendants detail Ms. Coates/Cobb’s

past interaction with Hames when he served as a guardian ad litem for her children

in a termination of parental rights proceeding, which resulted in her loss of custody.

Defendants contend that her testimony is relevant because of her involvement in the

initiation of the government’s action against Hames, and because she accompanied

Bartlett and Carreker when they filed petitions for protection from abuse against

Hames. Bartlett and Carreker testified in deposition that those petitions for protection


      10
           See doc. no. 129.

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from abuse contained false information, and that they did not complete the forms.

(Hames suggests that Coates/Cobb completed the forms for them, though she denied

doing so in her deposition.) The court reserves ruling upon this objection until such

time as Ms. Coates/Cobb is called to the stand.

B.    Government’s Objections to Defendants’ Exhibit List

      Initially, the government argues that defendants did not sufficiently identify

certain exhibits, as required by Federal Rule of Civil Procedure 26(a)(3)(A)(iii).

Defendants did not respond to the objections related to Exhibits 7 and 8 (records of

the shelters where Bartlett and Carreker stayed), but provided a list of specific Bates

numbers for exhibits 41-53 (ledger entries relating to aggrieved persons’ tenancies).

They also responded separately to the objection to exhibit 6 (bodycam footage of

Alisha Coates/Cobb making a complaint about Randy Hames to the Cullman County

Sheriff’s Office).

      1.        Protection from abuse petitions filed by Tomeka Bartlett and Kayla
                Carreker (Defendants’ exhibits 1 and 2)

      The government objects based upon Rules 401 and 403. The government also

objects on the ground that defendants should not be permitted to offer certain post-

tenancy evidence.11 Defendants state they will only use the petitions for impeachment

purposes. Accordingly, the court reserves ruling on this objection until trial.
      11
           See doc. no. 219 (United States’s Response to Defendant’s Motion in Limine), at 2 n.1.

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      2.     Facebook messages between Marie Watson and Hames (Defendants’
             Exhibit 3)

      The government objects based on hearsay and authenticity. Defendants argue

that these are statements by a party-opponent, admissible under Rule 801(d)(2). The

court will reserve ruling on this objection, as it arises, in the context of the trial.

      3.     Letter sent by the Department of Justice (Defendants’ Exhibit 4)

      The government objects based upon relevance and Rule 403. The letter has not

been provided to the court. Accordingly, the court will defer ruling on this objection.

      4.     Letter sent by Hames to DHR on behalf of Kayla Carreker (Defendants’
             Exhibit 5)

      The government objects based upon relevance and Rule 403, and because it

relates to post-tenancy conduct. Defendants represent that Hames began eviction

proceedings before he wrote the letter, but that Carreker did not vacate Hames Marina

until after January 24, 2018. The letter was sent on December 11, 2017, however,

prior to the date on which Carreker vacated Hames Marina. Even so, the parties have

not provided a copy of the letter to the court. Accordingly, the court reserves ruling

on this objection.

      5.     Bodycam footage of Alisha Coates/Cobb making a report to the Cullman
             County Sheriff’s Office on behalf of female tenants at Hames Marina
             (Defendants’ Exhibit 6)

      The government objects based upon relevance and Rule 403. Defendants

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contend that the bodycam footage shows Cobb’s bias and would be used for

impeachment purposes. The court reserves ruling on this objection.

      6.     Daystar and Harbor Haus shelter records (Defendants’ Exhibits 7 & 8)

      Defendants did not reply to these objections. Accordingly, the objections are

SUSTAINED.

      7.     Alisha Cobb Affidavit to Alabama Bar Association (Defendants’ Exhibit
             14)

      This exhibit has not been provided to the court for review. Accordingly, even

though the court cannot imagine the circumstances that would make it admissible, the

court reserves ruling on the objection until trial.

      8.     Various text and Facebook messages (Defendants’ Exhibits 18-21)

      Defendants did not respond to the government’s objections. Accordingly, the

objections are SUSTAINED.

      9.     Documents related to Randy Hames’s travel on December 22, 2017
             (Defendants’ Exhibit 26)

      The government objects on the basis of hearsay and authenticity. Defendants

represent that this exhibit is a photograph of Hames on vacation in another state on

the date that Bartlett alleges that he sexually harassed her. Hearsay is defined in the

Federal Rules of Evidence as an out-of-court statement offered to prove the truth of

the matter asserted in the statement. Fed. R. Evid. 801(c). “‘Statement’ means a

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person’s oral assertion, written assertion, or non-verbal conduct, if the person

intended it as an assertion.” Fed. R. Evid. 801(a). The photograph, as described, is

not hearsay, and the objection is OVERRULED.

       10.    Facebook messages between Tomeka Bartlett/Kayla Carreker and
              Jessica Penner’s fake Facebook page (Defendants’ Exhibit 29)

       The government objects to this exhibit on the grounds that it concerns post-

tenancy conduct, and on the grounds of hearsay and authenticity. Defendants contend

that it is relevant to the “motive against Randy Hames to try to gather as many women

as possible to make claims.” The court will reserve ruling on this objection as it

arises, in the context of the trial.

       11.    Protection from Abuse petition against Alisha Coates/Cobb
              (Defendants’ Exhibit 30)

       This exhibit, as described, is not relevant to the government’s claims.

Accordingly, the objection is SUSTAINED.

       DONE and ORDERED this 26th day of January, 2024.


                                              ______________________________
                                              Senior United States District Judge




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